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UNITED STATES DISTRICT COURT                        DATE FILED: 
SOUTHERN DISTRICT OF NEW YORK
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                                    :
UNITED STATES OF AMERICA
                                    :   19 Cr. 862-13 (VEC)

     -against-                      :   ORDER
                                    :
Ezequiel Ospina
                                    :
          Defendant
                                    :
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VALERIE E. CAPRONI, United States District Judge:

It is hereby ORDERED that the defendant’s bail be modified to

include drug testing as directed by Pretrial Services.

     Dated: New York, New York
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            May ___, 2021


                                   SO ORDERED:




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                                   VALERIE
                                    ALERIE E. CAPRONI
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                                                   NI
                                   United States District Judge
